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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,
                  Plaintiffs,                                  EP-21-cv-00259-DCG-JES-JVB
                                                                        [Lead Case]
ALEXANDER GREEN, et al.,
                  Plaintiff-Intervenors,                                      &

V.                                                               All Consolidated Cases

GREG ABBOTT, et al.,
                       Defendants.



             STATE DEFENDANTS’ MOTION FOR JUDGMENT AS MATTER OF LAW



       Defendants the State of Texas; Greg Abbott, in his official capacity as Governor of Texas;

Jane Nelson, in her official capacity as Secretary of State; and Dave Nelson, in his official capacity

as Deputy Secretary of State (collectively, “State Defendants”), respectfully file this Motion for

Judgment as a Matter of Law.
                                        I NT RO D U CT I O N

       At the close of Plaintiffs’ case in chief, State Defendants are entitled to judgment as a

matter of law on at least three categories of claims: (1) vote dilution claims under the Fifteenth

Amendment, (2) intentional discrimination claims under § 2 of the Voting Rights Act (“VRA”),

and (3) all intentional discrimination claims under both the Fourteenth and Fifteenth

Amendments.

       Importantly, if the Court grants judgment as a matter of law for State Defendants on the

Fifteenth Amendment vote dilution and § 2 intent claims, Plaintiffs will still be able to pursue

claims of vote dilution and intentional discrimination through their Fourteenth Amendment causes
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of action. Judgment as a matter of law on the Fifteenth Amendment vote dilution and § 2 intent

claims would serve to streamline the matters that this Court must consider and would prevent

duplicative relief. Defendants are entitled to judgment as a matter of law on Plaintiffs’ Fourteenth

Amendment claims as a consequence of Plaintiffs’ failure to carry their burden of proof in their

case in chief—even before State Defendants’ presentation of countervailing evidence.

                                A RGUM E N T A N D A U T H O R I T I E S

       A. Plaintiﬀs’ Vote Dilution Claims are Not Cognizable Under the Fifteenth
          Amendment.

       Last redistricting cycle, in Perez v. Texas, a three-judge panel of the Western District of

Texas found that binding circuit precedent precludes vote dilution claims brought under the

Fifteenth Amendment. Perez v. Texas, No. SA-11-CV-360-OLG-JES-XR 2014 WL 12853571 *2-3

(W.D.T.X June 23, 2014). “‘The Supreme Court has rejected application of the Fifteenth

Amendment to vote dilution causes of action’ because ‘[w]hen a legislative body is apportioned

into districts, every citizen retains equal rights to vote for the same number of representatives, even

if not for all of them, and every citizen’s ballot is equally weighed.’” Perez, 2014 WL 12853571 at

*2 (citing Prejean v. Foster, 227 F.3d 504, 519 (5th Cir. 2000); see also Reno v. Bossier Par. Sch. Bd.,

528 U.S. 320, 334 n. 3 (2000) (“we have never held that vote dilution violates the Fifteenth

Amendment.”).

       The Perez court closely analyzed—and summarily dismissed—the now-defunct Fifteenth

Amendment precedent of Lodge v. Buxton, 639 F.2d 1358 (5th Cir. Unit B. Mar. 1981) aff’d sub

nom. Rogers v. Lodge, 458 U.S. 613 (1982). In Lodge, the Fifth Circuit held that “a cause of action

under the Fourteenth or Fifteenth Amendment asserting unconstitutional vote dilution through

the maintenance of an at-large electoral system is legally cognizable.” Perez, WL 12853571 at *2



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(citing Lodge, 639 F.2d at 1375). But as the Perez court noted, Lodge’s Fifteenth Amendment

holding “directly flowed” from an incorrect conclusion. Perez, WL 12853571 at *2. The Lodge

court wrongly relied on the mistaken premise that in City of Mobile, Ala. v. Bolden, 446 U.S. 55

(1980), five Justices of the Supreme Court indicated their belief that “the Fifteenth Amendment

creates a right of action in voting dilution cases.” Id. at *2 (quoting Lodge, 639 F.2d at 1373). In

fact, “the plurality in Bolden, 446 U.S. at 65, specifically held that the Fifteenth Amendment does

not prohibit vote dilution.” Id. (emphasis added). The Perez court added: “[t]hat five justices in

1981 would have held, but did not hold, that the Fifteenth Amendment contemplates vote dilution

claims cannot overcome subsequent Supreme Court opinions that clarify vote dilution claims are

not, as of yet, cognizable under the Fifteenth Amendment.” Id. (emphasis in original).

Accordingly, Perez’s holding clarified that Prejean v. Foster, 227 F.3d 504 (5th Cir. 2000), best

reflects intervening Supreme Court law. Id. at *2. In Prejean, the Fifth Circuit did not merely hint

at how it would rule—it stated unambiguously that vote dilution claims are not cognizable under

the Fifteenth Amendment. Id.

       Plaintiffs’ citation to Allen v. Milligan, 599 U.S. 1 (2023) in their oral argument does not

support their contention that the Fifteenth Amendment creates a separate cause of action for vote

dilution. In Milligan, the Supreme Court considered an as-applied challenge to the constitutionality

of § 2 under the Fifteenth Amendment. Milligan, 599 U.S. at 41-42. The Milligan Court held that

§ 2 did not exceed the remedial authority of Congress. Id. at 41. It did not hold that the Fifteenth

Amendment provides a separate cause of action for vote dilution claims. See id. at 41-42.

       Plaintiffs also verbally referenced Fusilier v. Landry, 963 F.3d 447 (5th Cir. 2020), framing

that case as a progeny of Prejean and as an indicator that Plaintiffs’ vote dilution claims may be




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cognizable under the Fifteenth Amendment. But Fusilier did not address the question at issue here:

whether the Fifteenth Amendment creates a cause of action for intentional vote dilution claims.

Id. at 452. At most, an isolated sentence ancillary to Fusilier’s holding could be read to assume—

without analysis—that the Fifteenth Amendment cognizes claims of intentional vote dilution. See

id. at 463. But even under a reading of Fusilier most favorable to Plaintiffs and calculated to

engender maximal conflict with Prejean, Prejean would still control. “[U]nder the rule of

orderliness, to the extent that a more recent case contradicts an older case, the newer language has

no effect.” Arnold v. U.S. Dep’t of Interior, 213 F.3d 193, 196 n.4 (5th Cir. 2000) (citing Teague v.

City of Flower Mound, Texas, 179 F.3d 377, 383 (5th Cir.1999)).

       In sum, Prejean’s binding circuit precedent was sufficient for the Perez panel to grant

summary judgment for the State Defendants and dismiss each of Plaintiffs’ Fifteenth Amendment

vote dilution claims. There is no intervening caselaw that should persuade this Court to deviate

from Perez’s well-trod and clearly marked path. In consequence, this Court should grant judgment

as a matter of law for State Defendants on Plaintiffs’ Fifteenth Amendment vote dilution claims.

       B. Plaintiﬀs’ Intentional Discrimination Claims are Not Cognizable Under Section 2
          of the VRA.

       The Supreme Court recently “reiterated that § 2 turns on the presence of discriminatory

effects, not discriminatory intent.” Allen v. Milligan, 599 U.S. 1, 25 (2023) (citing Chisom v. Roemer,

501 U.S. 380, 403–404 (1991)). Claims of discriminatory effect are distinct from claims of

discriminatory intent for good reason: proving effect does not prove intent. Since § 2 claims “turn

on the presence of discriminatory effects, not discriminatory intent,” Milligan, 599 U.S. at 25, it

follows that § 2 does not provide two separate causes of action, one for intentional claims and one

for effects claims, but one single cause of action for discriminatory effects. The plain text of § 2



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supports this conclusion, as it prohibits conduct which “results in”—not conduct “intended to

cause”—a denial or abridgment of the right to vote on account of race. 52 U.S.C. § 10301(a).

       Plaintiffs’ oral argument gestured to a “plurality” opinion in Bartlett v. Strickland, 556 U.S.

1 (2009), for the proposition that intent-based factors have some impact on the Gingles

precondition analysis. See Day 13 AM Trial Trans. 131:22-132:3 (“In Bartlett versus Strickland, a

plurality of the Supreme Court, in that plurality opinion, commented that if there was a showing

of intentional discrimination, it would not be necessary for a vote dilution Plaintiff to establish the

first Gingles pre-condition.”). But Strickland did not “involve allegations of intentional and

wrongful conduct.” 556 U.S. at 20. The Court, therefore, explicitly stated that it “need not

consider whether intentional discrimination affects the Gingles analysis . . . . Our holding does not

apply to cases in which there is intentional discrimination against a racial minority.” Id.

       Additionally, State Defendants recognize that coalition claims under § 2 have been

dismissed pursuant to the Fifth Circuit’s decision in Petteway v. Galveston County 111 F.4th 596

(2024) and understand that the Plaintiffs who continue to pursue § 2 coalition claims do so only as

a means of preserving future argument. Accordingly, these claims are not ones with which this

Court must seriously engage. However, it is important to note here that at least one of Plaintiffs’

§ 2 intentional discrimination claims relates to a coalition district. See ECF 982-2. Such claims are

not cognizable under Milligan or Petteway and similarly may be disposed of as a matter of law.

       C. Plaintiﬀs Failed to Suﬃciently Disentangle Race and Politics as is Required to
          Carry their Burden on Fourteenth and Fifteenth Amendment Intentional
          Discrimination Claims.

       “[A] party challenging a map’s constitutionality must disentangle race and politics if it

wishes to prove that the legislature was motivated by race as opposed to partisanship.” Alexander

v. S.C. State Conf. of the NAACP, 602 U.S. 1, 6 (2024). “This showing can be made through some


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combination of direct and circumstantial evidence.” Id. at 8 (citing Cooper v. Harris, 581 U.S. 285,

291 (2017). “Direct evidence often comes in the form of a relevant state actor’s express

acknowledgement that race played a role in the drawing of district lines.” Id. Such evidence is not

present here. Plaintiffs’ own witnesses, experts, and counsel have admitted there is no direct

evidence of racial discrimination in this case. See e.g. Trial Trans. Day 5 PM 95:4-95:17; Day 10 PM

116:18-117:1; Day 11 AM 24:15-25:9. Instead of admitting this shortcoming—as their witnesses

have done—Plaintiffs have instead resorted to mislabeling their circumstantial evidence as direct

evidence of racial intent. But Plaintiffs’ assertions are not alchemy, and Plaintiffs cannot wish away

their lack of direct evidence merely by repeatedly insisting that what is circumstantial is in fact

direct.

          “A circumstantial-evidence-only case is especially difficult when the State raises a partisan-

gerrymandering defense” as the State has done here. Id. at 9. “To prevail, a plaintiff must

‘disentangle race from politics’ by proving ‘that the former drove a district’s lines.” Id. (citing

Cooper, 581 U.S. at 308). To do so, expert reports must “replicate the ‘myriad considerations’ that

a legislature must balance as part of its redistricting efforts.” Id. at 24 (citing Allen v. Milligan, 599

U.S. 1, 35 (2023). For example, expert reports that fail to account for traditional redistricting

principles such as partisanship and core retention have no probative force with respect to racial

gerrymandering claims. Id. at 33. Further, another type of evidence that can go a long way toward

helping plaintiffs disentangle race and politics is a map showing how the State could have achieved

its legitimate political objectives while producing the significantly greater racial balance. Id. at 34.

“The evidentiary force of an alternative map, coupled with its easy availability, means that trial

courts should draw an adverse inference from a plaintiff’s failure to submit one.” Id. at 35.




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          Here, Plaintiffs’ circumstantial evidence is lacking. For example, Representative Anchia

testified that the MALC demonstration maps did not consider traditional redistricting principles.

Trial Trans. Day 11 AM 29:16-37:13. 1 Dr. Ansolabehere testified that he drew the Gonzales

demonstration maps without considering the traditional redistricting principles of core

preservation, avoiding incumbent pairing, or maintaining communities of interest.2 Trial Trans.

Day 6 AM 90:20-91:3. And most poignantly, Representative Moody acknowledged that the unique

institutional concerns of Texans about the redrawing of their districts—such as the longstanding

ties between legislators like Chairman Craddick and Representative Thompson to the communities

that they have represented for decades on end—are lost on a map-drawing robot from Boston

entirely unplugged from the corporeal reality of Texas politics. Trial Trans. Day 12 AM 126:1-

127:14.

          Likewise, Plaintiffs’ assertion that the legislative redistricting process consistently

disfavored minority legislators is insufficient to overcome the legislative presumption of good faith.

Alexander, 602 U.S. at 10. First, it is insufficient because it is untrue. Plaintiffs’ own legislative

witnesses repeatedly presented evidence that they fully participated in the legislative process and

in many cases were successful in their aims to modify their districts prior to final passage of the

maps. Trial Trans. Day 11 AM 135: 3-135:22; Day 11 PM 66:2-69:17. That many of those

legislators—having secured favorable boundaries for their own districts—then voted against final

passage of the maps does nothing to diminish those members’ successful participation in the




1
 References are to the Rough Drafts of the daily transcripts., hereinafter cited as “Trial Trans. __.”
2
 State Defendants understand that Gonzales Plaintiffs do not bring claims of intentional discrimination. But because
a variety of Plaintiff groups have indicated an intent to rely on cross-designated Plaintiff experts, the insufficiency of
Dr. Ansolabehere’s maps is relevant to the extent that other Plaintiff groups intend to rely on his testimony in support
of their intentional discrimination claims.


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legislative redistricting process.

        Second, as the Supreme Court warned in Alexander, this Court “must be wary of plaintiffs

who seek to transform federal courts into ‘weapons of political warfare’ that will deliver victories

that eluded them ‘in the political arena.’” Alexander, 602 U.S. at 11 (citing Cooper, 581 U.S. at 335

(Alito, J., concurring in part). Even if it were true—and it is not—that sitting minority legislators

disproportionately lost out in the “political arena” of redistricting, such losses should not impel

this court to short-circuit the democratic political process by granting Plaintiffs’ claims for judicial

intervention.

        Finally, the presumption of legislative good faith “directs district courts to draw the

inference that cuts in the legislature’s favor when confronted with evidence that could plausibly

support multiple conclusions.” Id. at 10 (citing Abbott v. Perez, 585 U.S. 579, 610-12 (2018)). This

approach ensures that should the Court insert itself into the essentially political process of

redistricting, it is because “race for its own sake, and not other districting principles, was the

legislature’s dominant and controlling rationale in drawing its district lines.” Id. (citing Miller v.

Johnson, 515 U.S. 900, 913 (1995)).

                                           C O NC LUS I O N

        For these reasons, State Defendants respectfully request this Court grant judgment as a

matter of law for State Defendants on Plaintiﬀs’ claims for vote dilution under the Fifteenth

Amendment, intentional discrimination claims under § 2, and intentional discrimination claims

under the Fourteenth and Fifteenth Amendments.




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        I certify that on June 10, 2025, a true and accurate copy of the foregoing document was
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